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1 A. Yes. Today. 1 |-- that I was a sperm donor; that I did those
2 Q. Okay. Are you aware of what those 2 things in the past. I guess I feel -- I feel bad
3 changes are? 3 about that. I wish -- I wish I hadn't done it.
4 A. I-- Ibelieve there was a change in -- 4 Q. As you sit here today, do you understand
5 ina -- ina statement that I made that -- 5 that what you did was wrong?
6 THE WITNESS: I have to refresh my memory. | 6 A. Yes.
7 MR. POWERS: He gets to ask the questions. | 7 Q. And, as you sit here today, do you
8 Q. BY MR. MEEHAN: What statement had you | 8 understand how the wrong thing that you did could
9 made that needed to be changed? 9 cause somebody emotional distress?
10 A. Ineeded to -- 10 A. Yes. I understand that.
11 THE WITNESS: Help me with this. 11 Q. Do you understand that finding out that
12 MR. POWERS: I can't. I can't help you. You |12 your trusted physician inseminated you with his own
13 need to do your best to try to -- 13 semen without your knowledge could cause emotional
14 THE WITNESS: Okay. 14 distress?
15 MR. POWERS: -- answer the questions. 15 A. Yes.
16 THE WITNESS: Ask me -- ask me the question | 16 Q. Okay. And do you understand how being
17 again, please. 17 the husband of a person whose physician inseminated
18 MR. POWERS: Pay attention to the question. |18 them with his own semen could cause distress?
19 THE WITNESS: Okay. 19 A. Yes.
20 Q. BY MR. MEEHAN: You said that you needed | 20 Q. Do you understand that, as a child --
21 to make a change ina statement you had made. What |21 that finding out that the man that you thought was
22 statement had you made that needed to be changed? |22 your father is not actually your biological father
23 A. Ineeded to change the fact that I 23 could cause emotional distress?
24 had -- that I had been a donor. 24 A. Yes.
25 Q. So previously you had stated that you 25 Q. Can you understand, as you sit here
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1 had not been a donor? 1 today, that finding out that not only is your father
2 A. That's correct. 2 not your biological father but that you are the
3 Q. And that wasn't true? 3 result of your mother being inseminated with her
4 A. That was not true. 4 physician's own semen without her knowledge could
5 Q. And you knew at the time you made that | 5 cause additional distress?
6 statement that it wasn't true? 6 A. Yes.
7 A. That's correct. 7 Q. If told you that the events that bring
8 Q. So you had lied? 8 us here today caused Sally Ashby severe emotional
9 A. Yes. 9 distress, would you have any reason to dispute that?
10 Q. Now, do you understand that you are 10 A. No.
11 under oath today? 11 Q. IfI told you that the events that bring
12 A. Yes. 12 us here today caused Howard Fowler severe emotional
13 Q. And do you understand that being under |13 distress, would you have any reason to dispute that?
14 oath means that you have sworn that you will tell the | 14 A. No.
15 truth today? 15 Q. IfI told you that the events that
16 A. [understand that. 16 brought us here today caused Kelli Rowlette severe
17 Q. What does telling the truth mean to you? |17_ emotional distress, would you have any reason to
18 A. That I need to tell you, from the best 1s dispute that?
19 of my memory and recollection -- recollection, the |19 A. No.
20 things that I know to be correct or true; that I 20 Q. Is it truthful to say that you don't
21 should not lie to you in any way. 21 remember something when you actually do remember it?
22 Q. Why did you lie previously? 22 A. That's not truthful.
23 A. I was ashamed, or -- you know. 23 Q. Okay. Are you taking any medications
24 Q. Why were you ashamed? 24 today that would prevent you from giving honest and
25 A. Well, I -- I -- I regret the fact that 25 truthful answers?

 

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1 line where it states, "Dr. Mortimer admits that 1 Dr. R. Douglas Isbell did not try to stop you from

2 contained in Ms. Ashby's medical records are 2 using your own semen to inseminate patients?

3 pathology results on Mr. Fowler's sperm." 3 A. That is true.

4 A. Okay. 4 Q. In your response, it says -- it's the

5 Q. Is that accurate? 5 last sentence -- "Based on the wording of the

6 A. Yes. 6 request, Dr. Mortimer cannot admit or deny the

7 Q. Okay. Do you recall whether you 7 request."

@ diagnosed Mr. Fowler with low sperm motility? | 8 From what I understand, your testimony

9 A. Based on the lab report. 9 is that you admit Dr. R. Douglas Isbell did not try
10 Q. You did? 10 to stop you from using your own semen to inseminate
11 A. Yes. 11 patients; is that right?

12 Q. And you ordered the lab report, correct? | 12 A. That's what I said.
13 A. Yes. Yes. 13 Q. Is you admit that?
14 Q. And you just testified that you didn't 14 A. Yes.
15 order laboratory testing except for patients, 15 Q. Okay. So the response to Request for
16 correct? 16 Admission No. 32 is not accurate, correct?
17 A. Well, I think this is related to my 17 A. That's correct.
18 patient and has to do with my patient. 18 Q. Lask that you look at Request for
19 Q. But the diagnosis was with regard to 19 Admission No. 63. It says, "You did not tell Sally
20 Howard Fowler, correct? 20 Ashby that you were inseminating her with your own
21 A. That's correct. 21 sperm before you did so."
22 Q. And when you diagnose somebody, they're | 22 Do you see that?
23 your patient, correct? 23 A. Yes.
24 A. Yes. 24 Q. And you admit that? As you sit here
25 Q. So -- and you offered a diagnosis to 25 today, you admit that?
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1 Howard Fowler, correct? 1 A. I did not tell her.

2 A. Yes. 2 Q. Correct. Okay. Was it an accepted

3 Q. And that would make Howard Fowler your | 3 practice for someone board-certified in obstetrics

4 patient, wouldn't it? 4 and gynecology with like-experience to you in Idaho

5 A. Yes. 5 Falls, Idaho in 1980 to inseminate a patient with his

6 Q. So the places where you state that 6 own sperm without the patient's consent?

7 Howard Fowler is not your patient are inaccurate, | 7 A. That would not be proper without the

8 correct? 8 patient's consent.

9 A. Based on that. 9 Q. Okay. On page 19 of Exhibit *-17, you
10 Q. You would agree with me that they're 10 signed a verification notarized by Mr. Hall, correct?
11 inaccurate? 11 A. That's correct.

12 A. Well, based on what we just discussed. 12 Q. And that says that, under oath, being

13 Q. So if it says that he was -- if it says 13 first duly sworn and upon oath, that you had read the
14 Howard Fowler was not your patient, that's not the [14 foregoing responses to request for admission, knows
15 truth, is it? 15 the contents thereof and believes the same to be
16 A. It's not. 16 true?

17 Q. Okay. Thank you. 17 A. That's correct.

18 I'd ask that you turn to page 8, Request |18 Q. That's correct that that's what it says,

19 for Admission No. 32. 19 but it wasn't true, was it?

20 Would you please read Request for 20 A. It's not true.

21 Admission No. 32 for the record. 21 Q. Do you believe Mr. Hall had reason to
22 A. "Dr. R. Douglas Isbell did not try to 22 know that was not true when he notarized that
23 stop you from using your own semen to inseminate |23 document?

24 patients." 24 MR. HALL: Objection. Calls for invasion of
25 Q. Okay. And it is, in fact, true that 25 the attorney-client privilege.

 

 

 

 

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1 MR. POWERS: I'll join in that. 1 Q. So looking at page 9, Amended Response
2 You've been instructed not to answer 2 to Request for Admission No. 63, do you see there
3 that. 3 where you have stated and verified under oath, quote,
4 (Exhibit *-18A marked.) 4 "Dr. Mortimer has no specific recollection of using
5 MR. MEEHAN: Now, let's mark that actually as | 5 his own sperm to inseminate Ms. Ashby," end quote?
6 *-18A, please. And we will mark this one as *-18B. | 6 A. This bolded statement?
7 (Exhibit *-18B marked.) 7 Q. Yes. And do you see specifically where,
8 Q. BY MR. MEEHAN: Now, do you recognize | 8_ in that bolded statement on Amended Response to
9 what's been marked as *-18A as your amended responses | 9 Request for Admission No. 63 -- do you see where as

10 to plaintiffs’ first set of requests for admission? |10 part of that you state, quote, "Dr. Mortimer has no

11 A. It looks correct to me. 11 specific recollection of using his own sperm to

12 Q. Okay. And is the verification that has 12 inseminate Ms. Ashby"?

13 been marked as Exhibit *-18B your verification that | 13 A. Well, at the time -- since all of this

14 those amended responses have been read by you and |14 has come out and that, it's become clear that I did.

15 that you know the contents thereof and believe the | 15 Q. But even at the time Kelli Fowler, now

16 same to be true? 16 Kelli Rowlette, was born, you had a specific

17 A. That's correct. I've signed it. 17 recollection of having inseminated her mother, didn't

18 Q. Okay. And did you actually read your {1s you?

19 amended responses to plaintiffs’ first set of 19 A. I did.

20 requests for admissions before signing the 20 Q. And so this statement that you certified

21 verification? 21 as being true today is, in fact, not true?

22 A. I didn't read every word, but I looked 22 A. It looks like it's not true.

23 through. 23 MR. MEEHAN: Why don't we take a brief break

24 Q. Did you read all of the bolded words 24 before I jump into this.

25 that were added as the amendment to your admissions | 25 MR. POWERS: Okay. We can do that.

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1 and denials? 1 (A recess was taken from 2:26 p.m. to
2 A. I believe I did. I believe - I believe 2 2:34 p.m.)
3 I read the -- the dark. 3 (Exhibit *-19 marked.)
4 Q. Are all of the statements in the dark 4 Q. BY MR. MEEHAN: You have been provided
5 type, the bolded amended type, true and accurate as | 5 witha set of documents marked as Exhibit *-19. Do
6 we sit here today? 6 you recognize these as being the medical records that
7 A. Okay. 7 you produced to the plaintiffs in this case with your
8 Q. Are all of those bolded statements true 8 initial disclosures?
9 and correct as we sit here today? 9 A. As far as I know, yes.

10 A. As near as I can tell without -- without 10 Q. And I just want to go through these.

11 extensive study -- but as near as I can tell flipping [11 The first page -- tell me, what is the first page of

12 from one page to another, they look like they're 12 the records?

13 correct. 13 A. It's patient's history and physical.

14 Q. You said earlier that when you delivered | 14 Q. Okay. And the portion -- the

15 Kelli Fowler, now Kelli Rowlette, that you knew that |15 handwriting in section 1 --

16 you were delivering your own child. Do you recall | 16 A. Section 1?

17 that testimony? 17 Q. I'm looking at the first page of the

18 A. Yes. 18 exhibit.

19 Q. So if you knew that you were delivering 19 A. This page right here?

20 your own child, you would have known that you | 20 Q. No. The first page of the exhibit.

21 inseminated that child's mother, correct? 21 A. On this page right here?

22 A. Yes. 22 Q. Yes.

23 Q. So you had a specific recollection of 23 A. Oh, okay.

24 having inseminated Sally Ashby, then Fowler, correct? | 24 Q. The handwriting in section 1, do you

25 A. Yes. 25 have a belief as to whose handwriting that is?

 

 

 

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